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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

----------------------------------
BENJAMIN RAMEY, LOURDES BURGOS,                      )
and TYLER THOMSON, on behalf of themselves           )   Case No. 2:20-cv-00753-RJC
 and all others similarly situated,                  )
                                                     )
                              PLAINTIFFS,            )
                                                     )   FIRST AMENDED CLASS ACTION
V.                                                   )   COMPLAINT AND DEMAND FOR
                                                     )   JURY TRIAL
THE PENNSYLVANIA STATE UNIVERSITY,                   )
                                                     )
                     DEFENDANT.                      )
----------------------------------


       Plaintiffs, Benjamin Ramey, Lourdes Burgos, and Tyler Thomson (collectively,

“Plaintiffs”), by and through their undersigned counsel, bring this First Amended Class Action

Complaint against Defendant, The Pennsylvania State University (the “University” or

“Defendant”), and allege as follows based upon information and belief, except as to the allegations

specifically pertaining to them, which are based on personal knowledge.

                                 NATURE OF THE ACTION

       1.      This is a class action lawsuit on behalf of all persons who paid tuition and/or fees

to attend The Pennsylvania State University 1 for an in-person, hands-on education for the Spring

2020 semester and had their course work moved to online learning. Such persons paid all or part

of the tuition for the semester that ranged, for full-time students, from approximately $8,708 to



1
 Including all of the following branches and campuses: Abington, Altoona, Beaver, Behrend,
Berks, Brandywine, Carlisle, DuBois, Fayette, Great Valley, Greater Allegheny, Harrisburg,
Hazleton, Hershey, Lehigh Valley, Mont Alto, New Kensington, Schuylkill, Scranton, Shenango,
University Park, Wilkes-Barre, Williamsport, and York.
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$21,648, and a mandatory fee for the semester that included a Student Initiated Fee ranging from

$27 to $218, depending on which branch campus you attend (the “Mandatory Fee”).

       2.      The University has not refunded any amount of the tuition or any of the Mandatory

Fee, even though it has implemented online distance learning starting on March 16, 2020.

       3.      On or about March 16, 2020, the University also stopped providing any of the

services or facilities the Mandatory Fee was intended to cover because of the University’s response

to the Coronavirus Disease 2019 (“COVID-19”) pandemic.

       4.      The University’s failure to provide the services for which tuition and the Mandatory

Fee were intended to cover since approximately March 16, 2020 is a breach of the contracts

between the University and Plaintiffs and the members of the Class and is unjust.

       5.      In short, Plaintiffs and the members of the Class have paid for tuition for a first-rate

education and an on-campus, in person educational experience, with all the appurtenant benefits

offered by a first-rate university, and were provided a materially deficient and insufficient

alternative, which alternative constitutes a breach of the contracts entered into by Plaintiffs and the

Class with the University. As said in New York Magazine, “Universities are still in a period of

consensual hallucination with each saying, ‘We’re going to maintain these prices for what has

become, overnight, a dramatically less compelling product offering.’” 2

       6.      If Plaintiffs and members of the Class wanted to take online classes rather than in-

person classes with the University, they could have enrolled with Penn State World Campus Online

(“World Campus”).




2
  James D. Walsh, “The Coming Disruption,” New York Magazine, May 11, 2020, available at
https://nymag.com/intelligencer/2020/05/scott-galloway-future-of-college.html?utm_source=fb
(site last visited June 9, 2020).
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       7.      As to the Mandatory Fee, Plaintiffs and the Class have paid fees for services and

facilities which are simply not being provided; this failure also constitutes a breach of the contracts

entered into by Plaintiffs and the Class with the University.

       8.      Plaintiffs seek, for themselves and Class members, the University’s disgorgement

and return of the pro-rated portion of its tuition and Mandatory Fee, proportionate to the reduction

in contracted for services provided during the time that remained in the Spring Semester 2020

when the University closed and switched to online distance learning. The return of such pro-rated

amounts would compensate Plaintiffs and the Class members for damages sustained by way of

Defendant’s breach.

                                             PARTIES

       9.      Plaintiff Benjamin Ramey is an individual and citizen of Pennsylvania and resides

in Westmoreland County, Pennsylvania. He paid to attend the Spring 2020 semester at the

University as a full-time undergraduate student at the University’s Behrend campus located in

Erie, Pennsylvania. Plaintiff paid tuition for the Spring 2020 semester and the Mandatory Fees to

enable him to obtain an in-person, on-campus educational experience and enable him to participate

in the activities and to utilize the services covered by the Mandatory Fee that he paid. He has not

been provided a pro-rated refund of the tuition for his in-person classes that were discontinued and

moved online, or the Mandatory Fee he paid after the University’s facilities were closed and events

were cancelled.

       10.     Plaintiff Lourdes Burgos is an individual and citizen of New York who resides in

Bronx County, New York. Ms. Burgos is the parent of Penn State undergraduate student Jeffrey

Binet. Plaintiff paid tuition for the Spring 2020 semester and the Mandatory Fees to enable her son

to obtain an in-person, on-campus educational experience and enable him to participate in the



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activities and to utilize the services covered by the Mandatory Fees that she paid. She has not been

provided a pro-rated refund of tuition for the in-person classes that were discontinued and moved

online, or the Mandatory Fees she paid after the University’s facilities were closed and events were

canceled.

       11.     Plaintiff Tyler Thomson is an individual and citizen of the state of New Jersey. He

paid to attend the Spring 2020 semester at the University as a full-time undergraduate student.

Plaintiff paid tuition for the Spring 2020 semester and the Mandatory Fees to enable him to obtain

an in-person, on-campus educational experience and enable him to participate in the activities and

to utilize the services covered by the Mandatory Fee that he paid. He has not been provided a pro-

rated refund of the tuition for his in-person classes that were discontinued and moved online, or

the Mandatory Fee he paid after the University’s facilities were closed and events were cancelled.

       12.     Defendant, The Pennsylvania State University, is one of the nation’s largest public

research universities with twenty campuses located throughout the state of Pennsylvania, as well

as an online World Campus, and was founded in 1855. The University offers numerous major

fields for undergraduate students, as well as a number of graduate programs. Defendant’s

undergraduate and graduate programs includes students from many, if not all, of the states in the

country. Its principal campus is located in State College, Pennsylvania, but Defendant has 24

campuses around the state. Defendant is a citizen of Pennsylvania.

                                JURISDICTION AND VENUE

       13.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendant, there are more than 100 members




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of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interests

and costs.

        14.     This Court has personal jurisdiction over Defendant because many of the acts and

transactions giving rise to this action occurred in this District, and because Defendant conducts

substantial business by operating multiple campuses in this District, and soliciting students

residing in this District to attend its institution.

        15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because many of the

acts and transactions giving rise to this action occurred in this District, specifically, the contracts

that are the subject of this action were formed in this District, and the performance and breach of

contract also occurred in this district.

                                    FACTUAL ALLEGATIONS.

        16.     Plaintiffs and Class Members paid to attend the University’s Spring 2020 semester

including tuition and the Mandatory Fee.

        17.     The Spring 2020 semester at the University began on or about January 13, 2020.

The Spring 2020 semester ended on or around May 8, 2020.

        18.     Tuition at the University for in-person education for the Spring 2020 Semester

ranged from $8,708 to $21,648 for full-time students, depending upon the program and campus.

        19.     Tuition at the University online through its World Campus ranges from $6,994 to

$7,549, substantially less than what is paid for in-person education.

        20.     Students have the ability to choose an in-person and on campus education, or

education via the World Campus.




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          21.     The price for an online education is significantly lower than what is paid for an in-

person on campus education. The two educational options are promoted and priced differently,

and are separate and distinct.

          22.     Plaintiffs and the members of the Class paid tuition for the benefit of on-campus

    live interactive instruction and an on-campus educational experience throughout the entire Spring

    2020 semester.

          23.     Plaintiffs and the members of the Class paid the Mandatory Fee for the Spring 2020

semester so they could benefit throughout the Spring 2020 semester as follows:

                 STUDENT INITIATED FEE: The Student Fee supports student-centered activities,
                 services, facilities and recreation to improve student life and is the result of a student-
                 led initiative to be more involved in the creation and allocation of student fees.

          24.     The University has retained the value of the tuition and Mandatory Fee, while

failing to provide the services for which they were paid.

          25.     Members of the Class have demanded the return of the prorated portion of tuition,

and have taken to an online petition to demand the same. 3

          26.     Despite the demand from the Class, the University has not provided any refund of

any tuition or Mandatory Fee and continues to retain the monies paid by Plaintiffs and the Class.

 In Response to COVID-19, the University Closed Campus, Preventing Access to its Facilities,
            Services, Housing, and Dining, and Cancelled All In-Person Classes

          27.     On March 11, 2020, the University announced that starting on March 16, when

students were scheduled to return from spring break, all in-person classes were to be moved online

for three weeks, and would return to in-person classes on April 6, 2020.




3
       https://www.change.org/p/pennsylvania-state-university-penn-state-give-students-a-partial-
tuition-and-housing-refund
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         28.     On March 12, 2020, the University announced that it was cancelling all sports

throughout the end of the year and suspending all “athletically-related activities indefinitely.” On

March 13, 2020, the University closed all campus recreation facilities, programs and services.

         29.     On March 16, 2020, the University announced that it will be closing all retail

eateries and retail bookstores starting on March 17. One dining option remained open for students

still on-campus to retrieve take-out meals only.

         30.     On March 17, 2020, the University announced that starting on March 18, the

University libraries would be limited to operations of only two hours per day. On March 19, the

University restricted all access to libraries.

         31.     On March 18, 2020, the University made the decision to cancel in-person classes

 for the remainder of the Spring semester, extending online education indefinitely. This

 announcement also postponed commencement for the Spring 2020 graduating class.

         32.     The University has not held any in-person classes since March 6, 2020 for

 undergraduate students. All classes since March 16, 2020 have only been offered in a remote online

 format with no in-person instruction or interaction.

         33.     All of the University’s branches and campuses followed similar protocols and

 procedures in response to COVID-19.

         34.     Most of the services for which the Mandatory Fee was assessed were also

 terminated or cancelled at or about this time, such as access to University health and wellness

 facilities, programs or services; fitness facilities; student events or sports; and an in-person

 commencement.




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       35.     Although the University has provided an option to receive a refund for pro-rated

meal and housing costs, the University has not provided reimbursement or refund information

regarding tuition or the Mandatory Fee.

       36.     In tacit acknowledgement that not rebating a pro-rata portion of tuition was

improper for the period when there were no on-campus activities and only distanced online

learning, the University decided to lower its tuition for students enrolled in courses during Summer

2020 session, which were scheduled to be online rather than in-person.

       37.     Further, the price difference in tuition paid for in-person education at the University

as compared to tuition for the World Campus speaks for itself as to the contracted for value of

education.

 The University’s Online Courses Are Separate and Distinct from the In-Person Instruction,
  For Which Plaintiffs and the Class Members Contracted with the University to Receive by
                                 Paying Tuition and Fees

       38.     Students attending the University’s Spring 2020 semester did not choose to attend

an online institution of higher learning, but instead chose to enroll in the University’s in-person

educational program.

       39.     On its website, the University markets the University’s on-campus experience as a

benefit of enrollment:




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       40.     This is true of its various campuses around the state, as the University explains on

its website, students select their on-campus learning experience based on a variety of reasons:




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         Penn State campuses are everywhere you are.
         Some students choose to remain at one campus for all four years, while other
         students spend their first two years at one campus and transition to another for
         their remaining two years. To transition between campuses, the only requirement
         is that you meet the entrance to major requirements for your selected major. . . .

         Students choose this path for many reasons; some for the chance to stay close to
         home, others to save money. Still others are looking for a particular campus
         environment, perhaps smaller classes or particular sports. Whatever their reason
         and wherever their campus, they are excited to embark on their Penn State
         experience.

         41.      The University uses its website, promotional materials, circulars, admission papers,

and publications to tout the benefit of being on campus and the education students will receive in

its facilities.

         42.      The University acknowledges the reduction in benefit received from online

education by providing reduced tuition for students who enroll in its World Campus, and in

discounting the tuition for Summer 2020.

         43.      During the online portion of the Spring 2020 semester, the University principally

used programs by which previously recorded lectures were posted online for students to view on

their own, or by virtual Zoom meetings. Therefore, there was a lack of classroom interaction

among teachers and students and among students that is instrumental in interpersonal skill

development.

         44.      The online formats being used by the University do not require memorization or

the development of strong study skills given the absence of any possibility of being called on in

class and the ability to consult books and other materials when taking exams.

         45.      Students have been deprived of the opportunity for collaborative learning and in-

person dialogue, feedback, and critique.


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       46.     Access to facilities such as libraries, laboratories, computer labs, and study rooms,

are also integral to a college education, and access to the myriad activities offered by campus life

fosters social development and independence, and networking for future careers, all substantial

and materials parts of the basis upon which the University can charge the tuition it charges, are not

being provided.

       47.     The University has not made any refund of any portion of the tuition Plaintiffs and

the members of the Class paid for the Spring 2020 semester for the period it moved to online

distance learning even though it reduced tuition for students enrolled in Summer 2020, and even

though the University’s tuition for World Campus is significantly less.

       48.     Nor has the University refunded any portion of the Mandatory Fee it collected from

Plaintiffs and the members of the Class for the Spring 2020 semester even though it closed or

ceased operating the services and facilities for which the Mandatory Fee was intended to pay.

       49.     Plaintiffs and the Class members are therefore entitled to a pro-rated refund of the

tuition and Mandatory Fee they paid for the Spring 2020 semester for the remaining days of that

semester after classes moved from in-person to online and facilities were closed.

                              CLASS ACTION ALLEGATIONS

       50.     Plaintiffs bring this case individually and, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the class defined as: All persons who paid tuition and/or the

Mandatory Fee for a student to attend in-person class(es) during the Spring 2020 semester at the

University and any of its branch locations but had their class(es) moved to online learning (the

“Class”).

       51.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.



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       52.     The requirements of Rule 23(a)(1) are satisfied. The Class is so numerous that

joinder of all members is impracticable. Although the precise number of Class members is

unknown to Plaintiffs, the University has reported that an aggregate of 96,408 undergraduate and

graduate students have enrolled for the 2019-2020 school year. The names and addresses of all

such students are known to the University and can be identified through the University’s records.

Class members may be notified of the pendency of this action by recognized, Court-approved

notice dissemination methods, which may include U.S. Mail, electronic mail, Internet postings,

and/or published notice.

      53.      The requirements of Rule 23(a)(2) are satisfied. There are questions of law and fact

common to the members of the Class including, without limitation:

       a.      Whether the University accepted money from Plaintiffs and the Class members in

       exchange for the promise to provide an in-person and on-campus live education, as well as

       certain facilities and services throughout the Spring 2020 semester;

       b.      Whether Defendant breached its contracts with Plaintiffs and the members of the

       Class by failing to provide them with an in-person and on-campus live education after

       March 6, 2020;

       c.      Whether Defendant breached its contracts with Plaintiffs and the Class by failing

       to provide the services and facilities to which the Mandatory Fee pertained after mid-March

       2020;

       d.      Whether Defendant is unjustly enriched by retaining a portion of the tuition and

       Mandatory Fee during the period of time the University has been closed, and Plaintiffs and

       the members of the Class have been denied an in-person and on-campus live education and

       access and the services and facilities for which the Mandatory Fee was paid;



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       e.      Whether Defendant intentionally interfered with the rights of the Plaintiffs and the

       Class when it moved all in-person classes to a remote online format, cancelled all on-

       campus events, strongly encouraged students to stay away from campus, and discontinued

       services for which the Mandatory Fee was intended to pay, all while retaining the tuition

       and Mandatory Fee paid by Plaintiffs and the Class; and

       f.      The amount of damages and other relief to be awarded to Plaintiffs and the Class

       members.

       54.     The requirements of Rule 23(a)(3) are satisfied. Plaintiffs’ claims are typical of the

claims of the members of the Class because Plaintiffs and the other Class members each contracted

with Defendant for it to provide an in-person and on-campus live education for the tuition they

paid and the services and facilities for the Mandatory Fee that they paid, that the University stopped

providing in mid-March.

       55.     The requirements of Rule 23(a)(4) are satisfied. Plaintiffs are adequate class

representatives because their interests do not conflict with the interests of the other Class members

who they seek to represent, Plaintiffs have retained competent counsel who are experienced in

complex class action litigation, and Plaintiffs intend to prosecute this action vigorously. Class

members’ interests will be fairly and adequately protected by Plaintiffs and their counsel.

       56.     Class certification of Plaintiffs’ claims is also appropriate pursuant to Rule 23(b)(3)

because the above questions of law and fact that are common to the Class predominate over

questions affecting only individual members of the Class, and because a class action is superior to

other available methods for the fair and efficient adjudication of this litigation. The damages or

financial detriment suffered by individual Class members are relatively small compared to the

burden and expense of individual litigation of their claims against the University. It would, thus,



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be virtually impossible for the Class, on an individual basis, to obtain effective redress for the

wrongs committed against them. Furthermore, individualized litigation would create the danger of

inconsistent or contradictory judgments arising from the same set of facts. Individualized litigation

would also increase the delay and expense to all parties and the court system from the issues raised

by this action. By contrast, the class action device provides the benefits of adjudication of these

issues in a single proceeding, economies of scale, and comprehensive supervision by a single court,

and presents no unusual management difficulties under the circumstances.

                                  FIRST CLAIM FOR RELIEF

                                 BREACH OF CONTRACT
                             (On Behalf of Plaintiffs and the Class)

          57.   Plaintiffs repeat and re-allege the factual allegations above, as if fully alleged

herein.

          58.   Plaintiffs bring this claim individually and on behalf of the members of the Class.

          59.   By paying the University tuition and the Mandatory Fee for the Spring 2020

semester, the University agreed to, among other things, provide an in-person and on-campus live

education as well as the services and facilities to which the Mandatory Fee they paid pertained

throughout the Spring 2020 semester. As a result, Plaintiffs and each member of the Class entered

into a binding contract with the University.

          60.   Defendant is in possession of all contracts, materials, circulars, advertisements and

the like between Plaintiffs and members of the Class on one hand, and the University on the other.

          61.   The University has breached its contract with Plaintiffs and the Class by failing to

provide the promised in-person and on-campus live education as well as the services and facilities

to which the Mandatory Fee pertained throughout the Spring 2020 semester, yet has retained

monies paid by Plaintiffs and the Class for a live in-person education and access to these services

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and facilities during the entire Spring 2020 semester. Plaintiffs and the members of the Class have

therefore been denied the benefit of their bargain.

          62.   Plaintiffs and the members of the Class have suffered damage as a direct and

proximate result of the University’s breach in the amount of the prorated portion of the tuition and

Mandatory Fee they each paid equal to the reduction in contracted for education and services

during the portion of time the Spring 2020 semester when in-person classes were discontinued and

facilities were closed by the University.

          63.   The University should return such portions of the tuition and Mandatory Fee to

Plaintiffs and each Class Member.

                                 SECOND CLAIM FOR RELIEF

                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiffs and the Class)

          64.   Plaintiffs repeat and re-allege the factual allegations above, as if fully alleged

herein.

          65.   Plaintiffs bring this claim individually and on behalf of the members of the Class

in the alternative to the First Claim for Relief, to the extent it is determined that Plaintiffs and the

Class do not have an enforceable contract with the University regarding the relief requested.

          66.   Plaintiffs and members of the Class conferred a benefit on the University in the

form of tuition and the Mandatory Fee paid for the Spring 2020 semester. The payment of this

tuition and Mandatory Fee was to be in exchange for an in-person, on-campus educational

experience to be provided to Plaintiffs and the members of the Class throughout the Spring 2020

semester.

          67.   The University has retained the full benefit of the tuition and Mandatory Fee

payments by Plaintiffs and the members of the Class for the Spring 2020 semester, yet has failed

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to provide the quality of education and services and facilities for which tuition and the Mandatory

Fee were paid, including those for an in-person and on-campus live education, and access to the

University’s services and facilities.

        68.    Instead, the University provided only the benefits and education similar to those

provided to its World Campus students, who pay a significantly lower rate for such benefits and

education.

        69.    The University’s retention of all of the tuition and Mandatory Fee paid by Plaintiffs

and members of the Class during the period of time the University has been closed, and Plaintiffs

and the members of the Class have been denied an in-person and on-campus live education and

access and the services and facilities for which the Mandatory Fee were paid, is unjust and

inequitable under the circumstances.

        70.    Undoubtedly, the costs incurred for having an online only program is significantly

lower than the overhead needed to provide classes and services on campus. This is evinced by the

significantly lower tuition and Mandatory Fee paid by students enrolled in the University’s World

Campus.

        71.    The University already had the capabilities to provide online education through its

use of its World Campus, and therefore, should not have incurred any additional costs in the

transition.

        72.    Allowing the University to retain the tuition and Mandatory Fees paid for in-person

on campus education and experiences, after reducing the benefit provided and the costs incurred

by the University, unjustly enriches the Defendant.

        73.    Accordingly, the University has been unjustly enriched and should return the

prorated portion of the tuition and Mandatory Fee that Plaintiffs and Class members each paid



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equal to the reduction in benefit for education and services during the remainder of the Spring

2020 semester when in-person classes were discontinued and facilities were closed by the

University.

                                  THIRD CLAIM FOR RELIEF

                                        CONVERSION
                              (On Behalf of Plaintiffs and the Class)

          74.   Plaintiffs repeat and re-allege the factual allegations above, as if fully alleged

herein.

          75.   In the alternative to the First Claim For Relief, Plaintiffs bring this claim

individually and on behalf of the members of the Class.

          76.   Plaintiffs and members of the Class provided the University with property in the

form of funds (tuition and Mandatory Fees), to be in exchange for in-person on campus services,

facilities and face to face instruction.

          77.   The University exercises control over Plaintiffs’ and Class members’ property.

          78.   The University intentionally interfered with Plaintiffs’ and the Class members’

property when it unilaterally moved all in-person classes to a remote online format, cancelled all

on-campus events, strongly encouraged students to stay away from campus, and discontinued

services for which the Mandatory Fees were intended to pay, all while retaining the tuition and

Mandatory Fees paid by Plaintiffs and the Class.

          79.   Class members demanded the return of their property proportionate to the reduction

in benefit for education and services during remainder of the Spring 2020 semester when in-person

and on-campus live education, and access to the University’s services and facilities were

unavailable.




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        80.     The University’s retention of the tuition and Mandatory Fee paid by Plaintiffs and

the Class without providing the services for which they paid, deprived Plaintiffs and Class of the

benefits for which the tuition and Mandatory Fee were paid, and of their funds paid for those

benefits.

        81.     Plaintiffs and the Class members are entitled to the return of the pro-rated amounts

of tuition and Mandatory Fee each paid equal to the reduction in benefit for education and services

during the remainder of the Spring 2020 semester when in-person and on-campus live education,

and access to the University’s services and facilities were unavailable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that judgment be entered in favor of

Plaintiffs and the Class against Defendant as follows:

        (a)     For an order certifying the Class under Rule 23 of the Federal Rules of Civil

        Procedure and naming Plaintiffs as representative of the Class and Plaintiffs’ attorneys as

        Class Counsel to represent the Class;

        (b)     For an order finding in favor of Plaintiffs and the Class on all counts asserted herein;

        (c)     For compensatory damages in an amount to be determined by the trier of fact;

        (d)     For an order of restitution and all other forms of equitable monetary relief;

        (e)     Awarding Plaintiffs’ reasonable attorneys’ fees, costs, and expenses;

        (f)     Awarding pre- and post-judgment interest on any amounts awarded; and,

        (g)     Awarding such other and further relief as may be just and proper.

                                DEMAND FOR TRIAL BY JURY

        Pursuant to the Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of

any and all issues in this action so triable of right.



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Dated: August 20, 2020                    Respectfully submitted,

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                                          Counsel for Plaintiffs and Proposed Class
                                          * pro hac vice application forthcoming




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